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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                     Case No. 14-40005-DDC

MICHAEL MYERS (13),

        Defendant.


                                  MEMORANDUM AND ORDER

        On May 7, 2015, Judge Sebelius held a hearing, at the government’s request, to

determine whether to revoke defendant Michael Myers’ pretrial release in this case (Doc. 416).

After the hearing Judge Sebelius revoked Mr. Myers’ pretrial release and ordered him detained

pending trial (Doc. 436). On July 9, 2015, Mr. Myers filed a motion for reconsideration of Judge

Sebelius’ order (Doc. 442). He filed an amended, though largely similar, motion on July 13,

2015 (Doc. 445). The Court held a hearing on Mr. Myers’ motions on July 14, 2015. The Court

conducts a de novo review of Judge Sebelius’ revocation order. United States v. Bunce, No. 00-

40024-07-SAC, 2000 WL 1542584, at *2 (D. Kan. Sept. 29, 2000). After reviewing the

evidence and arguments of counsel, the Court denies Mr. Myers’ motions.

         Under 18 U.S.C. § 3148, “a person who has been released under section 3142 of this

title, and who has violated a condition of his release, is subject to a revocation of release, an

order of detention, and a prosecution for contempt of court.” The Court must enter an order of

revocation if, after a hearing, it:

                (1) finds that there is—




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                       (A) probable cause to believe that the person has committed a
                           Federal, State, or local crime while on release; or

                       (B) clear and convincing evidence that the person has violated any
                           other condition of release; and

               (2) finds that—

                       (A) based on the factors set forth in section 3142(g) of this title,
                           there is no condition or combination of conditions of release
                           that will assure that the person will not flee or pose a danger to
                           the safety of any other person or the community; or

                       (B) the person is unlikely to abide by any condition or combination
                           of conditions of release.

18 U.S.C. § 3148(b).

       On the first prong of this provision, the Court finds that probable cause exists to believe

that Mr. Myers has committed a state or local crime. On April 6, 2015, he was charged with

Assault Family Violence in Montgomery County, Texas, after an altercation with his co-

defendant in this case, Michelle Reulet. The Court has reviewed the voluntary written statement

that Ms. Reulet provided to a law enforcement officer about this incident and also has listened to

the emergency 911 call she made to Texas authorities that morning. Based on this evidence, the

Court concludes that there is probable cause to believe that Mr. Myers committed the crime of

Assault Family Violence.

       Also, clear and convincing evidence exists to believe that Mr. Myers has violated a

condition of his pretrial release. Mr. Myers admits he did not notify his probation officer

immediately about his contact with a law enforcement officer on April 6, or about the resulting

charge. Indeed, Mr. Myers’ Probation Officer contacted him, not the other way around.

        On the second prong of § 3148, the Court finds that “there is no condition or

combination of conditions of release that will assure that” Mr. Myers does not pose a danger to


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Ms. Reulet’s safety. 18 U.S.C. § 3148(b). Title 18 U.S.C. § 3142(g) instructs the Court, when

deciding whether any conditions exist that reasonably will assure the safety of Ms. Reulet, to

consider four factors. First, the Court must consider “the nature and circumstances of the

offense[s]” charged against Mr. Myers. § 3142(g)(1). The Superseding Indictment charges Mr.

Myers with substantial violations of the Controlled Substances Act, ones that could produce

sentences as long as 20 years. In such a case, a rebuttable presumption arises that no sufficient

conditions exist. 18 U.S.C. § 3142(e)(3)(A). As detailed more fully in the following discussion

of the other three statutory factors, Mr. Myers has failed to rebut this presumption.

       Section 3142(g) next instructs the Court to consider the weight of the evidence against

Mr. Myers. This requirement is a daunting proposition in a complex case (as this one is) with a

broad geographic and factual reach. But the government has represented that it possesses

communications that Mr. Myers authored and they manifest, the government says, his awareness

that he was engaging in criminal behavior. Ultimately, a jury will decide whether these

communications are what the government says they are and, together with other evidence,

whether they will enable the government to carry the heavy burden our system imposes in a

criminal case. But without expressing any opinion whether the government’s evidence will carry

that ultimate burden, the Court concludes that the government possesses a substantial case

against Mr. Myers that, in part, is based on his written words.

       Section 3142(g) also provides that the Court must consider the defendant’s history and

characteristics, including things such as Mr. Myers’ family ties, his financial resources, and his

criminal history. Some of factors militate against detention. His criminal history is limited

(even considering the April altercation) and he has family ties in the area where he lives. But his

financial resources now appear severely strained (limited enough, he represents, to qualify for



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appointed counsel); and the government also has asserted that a co-defendant owns and soon will

forfeit the house where Mr. Myers had lived with Ms. Reulet before he was detained. This

factor, on balance, is a neutral one.

       Finally, § 3142(g) directs the Court to consider the seriousness of the danger that Mr.

Myers’ release would pose for the greater community or any member of it. “The government

must prove dangerousness to any other person or the community by clear and convincing

evidence.” United States v. Poole, No. 03-40065-01-SAC, 2004 WL 1732306, at *2 (D. Kan.

July 15, 2004). The Court finds that Mr. Myers does not present a danger to members of the

community, generally. But clear and convincing evidence establishes that Mr. Myers presents a

significant and increasing threat to Ms. Reulet’s well-being. The evidence shows that Mr. Myers

has a long history of using abusive language towards Ms. Reulet. The events of April 6 confirm

that the toxic nature of the relationship has escalated. And the evidence does not end there.

Three weeks after the April 6 incident, Mr. Myers engaged Ms. Reulet in another altercation—

this time by text message. Mr. Myers’ texts, read into the record at the hearing, reveal a verbally

abusive and aggressive temperament. Ms. Reulet’s texts to Mr. Myers repeatedly attempted to

disengage from this dispute. Mr. Myers, however, continued to pursue Ms. Reulet, and he

concerned her enough that she would not return to the dwelling she shared with Mr. Myers at the

time. The Court finds these texts particularly troubling because Mr. Myers sent them at a time

when he knew that his Probation Officer was scrutinizing him closely. The record before the

Court demonstrates, by clear and convincing evidence, that Mr. Myers poses a significant threat

of danger to Ms. Reulet. Taken together, the factors in § 3142(g) persuade the Court that no

single condition or combination of conditions will assure her safety.




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       In addition, the Court finds that Mr. Myers is unlikely to abide by any conditions it might

impose. See 18 U.S.C. § 3148(b)(2)(B). While Mr. Myers did comply with many conditions for

a significant period after Judge Sebelius’ initial order releasing him pending trial, the more

recent evidence is different. There is probable cause to believe that Mr. Myers violated at least

two conditions of his release and one is more troubling than the other. Namely, he chose not to

report his contact with a law enforcement officer to his Probation Officer. His failure to report is

particularly troubling because, in Mr. Myers’ view, the April 6 altercation he failed to report was

not “a big deal.” If the Court cannot rely on Mr. Myers to inform his Probation Officer about

situations he considers minor—and the unchallenged facts establish it cannot—the Court cannot

rely on Mr. Myers to abide by more limiting conditions designed to preserve the safety of others.

       It is regrettable that Mr. Myers could not comport his behavior to the pretrial release

conditions that our Court imposed (with his agreement). Had he managed to do so, he would

have remained on release until a jury could decide the charges against him. But the evidence

here satisfies both aspects of § 3148(b). The Court thus denies Mr. Myers’ motion to reconsider

Judge Sebelius’ order revoking his pretrial release. The Court orders Mr. Myers detained

pending trial on the same terms and conditions specified in Judge Sebelius’ order of May 7,

2015. See Doc. 436.

        IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Myers’ Motions for

Reconsideration (Docs. 442, 445) are denied.

       IT IS SO ORDERED.

       Dated this 16th day of July, 2015, at Topeka, Kansas.


                                                      s/ Daniel D. Crabtree
                                                      Daniel D. Crabtree
                                                      United States District Judge

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